Vs

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”

 

 

 

CASE NO.: 11CV-382CVE TLW
IN THE JUL i 201
UNITED STATES COURT Phil Lombardi, Clerk
FOR THE NORTHERN DISTRICT U.S, DISTRICT COURT
OF OKLAHOMA
GORDON TODD SKINNER,
PETITIONER,

Vv.
MIKE ADDISON, WARDEN,

RESPONDENT.

 

PETITIONER’S AMENDED OPENING BRIEF
(PURSUANT TO Fed.R.Civ.P. 15(A))
IN SUPPORT OF PETITION
UNDER 28 U.S.C. §§ 2241, 2254
FOR WRIT OF HABEAS CORPUS

 

Gordon Todd Skinner

Inmate Number: 556865

Joseph Harp Correctional Facility
P. O. Box 548

Lexington, Oklahoma 73051

in propria persona
Petitioner
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HISTORY OF THE CASE

Petitioner, Gordon Todd Skinner, pro se, presents the following arguments and
authorities in support of issuance of a writ of habeas corpus as to the Judgment and Sentence
imposed by the District Court of Tulsa County, case no. CF-2003-4213. Petitioner will be
referred to by name or as “Petitioner”. Respondents are as follows: State of Oklahoma will be
referred to as the “State”; Warden Addison will be referred to as “Warden Addison”. United
States Department of Justice will be referred to as “Government” or “DOJ”. Citations to relevant
portions of the record shall be as follows:

a) Original record: (O.R.--)

b) Preliminary Hearing Transcript: (P.Tr.--)

c) Kastigar' Hearing, May 25, 2005; (K1Tr.--) (See Appendix “Q”)

d) Kastigar Hearing, August 8 & 9: (K2Tr.--) (See Appendix “R”)

e) Kastigar Hearing, June 12, 2006, Direct of Krystle Cole: (K3Tr.--)

f) Kastigar Hearing, June 12, 2006, Cross of Krystle Cole, Titled Transcript of
Hearing: (K4Tr.--) (See Appendix “P”)

g) Sentencing Transcript: (S.Tr.--)
h) Post-Conviction Relief Original Record: (P.C.O.R.--)

On September 28, 2004, four days after an informal video arraignment and 21 days after
Petitioner was brought to Tulsa under the Interstate Agreement Detainers Act (“IADA”),
Petitioner filed “Defendant’s Motion for a Kastigar Hearing, to Exclude Tainted Evidence and
Disqualify the Prosecutor, to Compel Full Disclosure of All Discovery and to Dismiss the
Complaint.” (O.R. 86-104) (See Appendix “A”) Six days later, Petitioner’s lawyer filed a 23-

page brief in support of the Kastigar motion. (O.R. 105-126).

After review of the first Kastigar Brief, Tulsa County Special Judge Millie Otey granted

motion and ordered a Kastigar hearing. (O.R. 127) The State filed no response.

 

' Kastigar v. U.S., 406 U.S. 441 (1972).
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Petitioner issued multiple subpoenas for Tulsa Field Office (“TFO”) Doug Kidwell, an
agent for the Drug Enforcement Administration (“DEA”). (O.R. 135-136) United States
Attomey (“USA”) David O’Meilia, through Assistant United States Attorney (“AUSA”) Cathryn
McClanahan, quashes subpoenas in state court before Tulsa County Special Judge Clancy Smith.
(O.R. 128-131) (See Appendix “T”) United States’ Notice of ERRATA was filed in Tulsa

County District Court. (O.R. 133-137) (See Appendix “U”)

AUSA McClanahan told Mr. Michael I. Aston, Petitioner’s lawyer, that it would be a
waste of time to file for a Touhy hearing (United States ex rel. Touhy v. Ragen, et al., 340 U.S.
462, A.M.C. 1044, 95 L.Ed. 417 (1951)) as Government never loses in Federal Court on these
hearings. Petitioner filed a request, pursuant to 28 Code of Federal Regulations (“C.F.R.”) §
16.21 et sequentia. AUSA McClanahan claimed she lost the request and asked Mr. Michael I.
Aston to re-submit request. (O.R. 142-143) (See Appendix “V”) Mr. Michael I. Aston filed a
new 28 C.F.R. § 16.21 et sequentia request via fax and United States First Class Mail. (O.R. 142-
143) USA O’Meilia does not respond in a timely manner to answer the 28 C.F.R. § 16.21 et
sequentia. (O.R. 150) (See Appendix “W”’) Assistant District Attorney (“ADA”) Dave
Robertson and James D. “Micky” Hawkins became increasingly abusive to Petitioner and his
attorneys. Petitioner was forced to waive his L.A.D.A. speedy trial rights in order to obtain a
Kastigar Hearing and to have federal agents as witnesses at the hearing. (O.R. 150-154) (See
Appendix “X”’) On December 6, 2004, ADA Hawkins stated in court, the state is ready to go to
trial and objected to extension of time. On November 24, 2004, Petitioner’s lawyer received a
denial to 28 C.F.R. § 16.21 et sequentia request (letter dated November 22, 2004, post-marked

November 23, 2004).

ADA Dave Robertson filed an untimely response to Petitioner’s Kastigar motion. (O.R.

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156) This response was filed on December 20, 2004; however, the certificate of mailing claims
ADA Robertson gave this to Mr. Michael I. Aston on October 15, 2004. Mr. Michael I. Aston
never received this filing. In the untimely response, State raised no legal authority; however, the
State makes reference to Parker Brothers Monopoly board games “get out of jail free card.” (See
Appendix Y”) ADA Robertson did not distinguish if the card came from “Community Chest” or

“Chance.”

On March 26, 2005, the DOJ released to ADA Dave Robertson 148 pages of discovery.
On Apmil 1, 2005, Petitioner filed “Gordon Todd Skinner’s Supplemental Kastigar Motion and
Motion to Dismiss the Charges Currently Pending Against Him”. (O.R. 174-295) (See Appendix

“B”) The State did not respond to this motion.

Based upon “Gordon Todd Skinner’s Supplemental Kastigar Motion and Motion to
Dismiss the Charges Currently Pending Against Him,” (O.R. 174-295) Tulsa County District
Judge Gordon McAllister ordered a Kastigar hearing. On April 28, 2005, Judge McAllister
ordered the State to turn over ten additional pages of discovery. Through legerdemain, Petitioner

has never received these pages (Bates stamped 387-397).

On May 25, 2005, the first Kastigar hearing was held. (K1Tr.-) On August 4, 2005,
another Kastigar motion was filed, videlicet: “Gordon Todd Skinner’s Second Supplemental
Kastigar Motion and Motion to Dismiss the Charges Currently Pending Against Him.” (O.R.
312-363) (See Appendix “C”) This motion shows definitively that the evidence utilized by the
Tulsa Police was derived from Petitioner’s compelled disclosures, and that the investigation by
the Tulsa Police was wholly dependent on an investigation by the Drug Enforcement

Administration (DEA). There was no written response to this motion by the State.
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On August 8, 2005, a second Kastigar hearing ensued. (K2Tr-) Videos and evidence
were entered into the record showing the evidence was tainted and that the investigation was
conducted by the DEA. Petitioner’s lawyers demanded that the State produce the DEA agents
involved, AUSA Allen Litchfield, and that Krystle Cole be placed on the stand. On August 9,
2005, Judge McAllister orally denied all of the Kastigar motions, and refused to sign a written
order. Petitioner’s lawyers demanded the Judge give a written order clarifying the reasons for his
denial. (See K2Tr-43, pg. 43, lines 3-14) Judge McAllister refused, stating such a thing was not
required of him. Petitioner gave notice that Petitioner would seek writ of prohibition/mandamus.

(K2Tr- page 41, lines12-25, through page 42, lines 1-21).

Petitioner’s lawyer was conflicted off. Head Federal Public Defender Paul Brunton
called Petitioner’s lawyer, Kevin Adams, and based on information from USA O’Meilia,
(P.C.O.R. 80) Adams conflicted himself off the case. (O.R. 366-367) (See Appendix “AA”)

Petitioner was unable to seek a writ of prohibition/mandamus.

On June 7, 2006, new evidence was presented, from the United States Court of Appeals
for the Tenth Circuit, which had not previously been available, in “Defendant’s Re-Urged
Motion to Dismiss for Kastigar Violations, or in the Alternative, Request for an Evidentiary
Hearing to Determine Witness and/or Prosecutor Taint.” (O.R. 406-418) (See Appendix “D’’)
The State gave no written response but stated orally that the Kastigar hearing was necessary to
satisfy the requirements set forth in United States v. North, 920 F.2d 940 (D.C. Cir. 1990). The
Judge ordered the State to go through the process of placing each one of its witnesses on the
stand for a Kastigar hearing. Petitioner was denied access to Kristi Roberts in the Kastigar
hearings. (Transcript-Volume II], June 15, 2006, part one, page 473, lines 1-17) During and

after the trial, and throughout sentencing, Petitioner continued to raise Kastigar motions orally.

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(Trial Transcripts passim) (S. Tr. -8, lines 7-9) (See Appendix “E”) All motions were denied

orally by Judge McAllister, with no written responses from the State or Judge McAllister.

The Kastigar claim was raised in Proposition One of Petitioner’s Direct Appeal (See
Appendix “F’’) to the Oklahoma Court of Criminal Appeals (“OCCA”), scilicet: “Mr. Skinner’s
Convictions Were Obtained in Violation of the Terms of an Immunity Agreement Binding on the
State of Oklahoma; Accordingly, Mr. Skinner’s Convictions Must be dismissed.” State filed a
response. (See Appendix “G”) Petitioner’s lawyer filed a reply. (See Appendix “H”) On June
11, 2009, Oklahoma Court of Criminal Appeals (““O.C.C.A.”) filed an opinion denying Kastigar
claim. (P.C.O.R. 44-74) (See Appendix “I’’) Petitioner sought further review and relief from his
unconstitutional conviction in the form of a timely filed petition for writ of certiorari to US.
Supreme Court, case number 09-6594, filed on September 4, 2009 (filed within the 90 day time
period). (P.C.O.R. 852) (See Appendix “J’”’) The petition for writ of certiorari was amended and
timely re-filed on October 5, 2009. (P.C.O.R. 390-618) (See Appendix “K”) The petition for
writ of certiorari was denied on November 30, 2009. (P.C.O.R. 852) (See Appendix “L”) On

December 24, 2009, Petitioner timely filed a petition for re-hearing to the United States Supreme

Court. (P.C.O.R. 852) (See Appendix “L”).

Within the one-year Antiterrorism and Effective Death Penalty Act of 1996, Pub. L. No.
104-132, 110 Stat. 1217 (“AEDPA”) time limit, Petitioner timely filed in Tulsa District Court for
State of Oklahoma his first (first Post-Conviction Application after his Direct Appeal)
Application for Post-Conviction Relief on October 6, 2010 (leaving 55 days in the AEDPA time
bank). (P.C.O.R. 75-852) (See Appendix “M”) Within the Application were requests for
evidentiary hearings. (P.C.O.R. 80) On November 5, 2010, Petitioner filed:

a) Motion To Request Evidentiary Hearing On Petitioner’s Ineffective Assistance Of

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Appellate Counsel Claim (P.C.O.R. 869-871)

b) Motion to Request Evidentiary Hearing on Petitioner’s Ineffective Assistance of Trial
Counsel Claim (P.C.O.R. 872-875)

c) Motion to Request Evidentiary Hearing on Petitioner’s Kastigar Claim (P.C.O.R.
875-877) (Volume III, Transcript of Jury Trial, 15 June, 2006, pages 472-474)

d) Motion to Request Evidentiary Hearing on Petitioner’s Government-Induced
Ineffective Assistance of Counsel Claim (P.C.O.R. 881-883)

e) Motion to Request Evidentiary Hearing on Petitioner’s Brady and Allen Claims
Regarding alleged Prior Kidnapping (P.C.O.R. 878-880)

On November 8, 2010, Petitioner filed a Traverse Reply to Respondent’s Response to
Petitioner’s Application for Post-Conviction Relief. (P.C.O.R. 884-890) All motions and

applications were denied on November 15, 2010. (P.C.O.R. 890-900).

Petitioner timely filed Notice of Intent to Appeal (P-C.O.R. 1008-1010) on November 22,
2010, and a timely appeal pursuant to 22 O.S. § 1087 and Oklahoma Court of Criminal Appeals
Rule 5.2(A) & (C) on December 15, 2010. (See Appendix “N”) Concurrently, Petitioner timely
filed Application for Recusal of all O.C.C.A. Judges. (App. “N”) Petitioner timely filed Brief in
Support of Petition in Error on December 15, 2010. (App. “N”) “Evidentiary Hearings
Requested” was clearly noted on the front cover of the Opening Brief in Support of Petition in
Error, (App. “N”) and numerous Requests for Evidentiary Hearings (App. “N”) on issues were
made within. Petitioner timely filed numerous motions requesting evidentiary hearings pursuant
to O.C.C.A. Rule 3.11 as required by O.C.C.A. Rule 5.2(C) (7). (App. “N”) With exception of

recusal of Judge Smith all motions, applications and appeals were denied. (See Appendix “O”).

Petitioner, now timely files Title 28 U.S.C. § 2254 petition for writ of habeas corpus,
meeting the one-year requirement of 28 U.S.C. § 2244(d) (1) “A 1-year period of limitation shall
apply to an application for writ of habeas corpus by a person in custody pursuant to the
judgment of a State court. The limitation period shall run from the latest of- (A) the date on

which the judgment became final by the conclusion of direct review or expiration of the time for
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seeking such review.” Title 28 U.S.C. § 2244(d) (2) states: “The time during which a properly
filed application for State post-conviction or other collateral review with respect to the pertinent
judgment or claim is pending shall not be counted toward any period of limitation under this

subsection.” This petition meets the time requirements of AEDPA as enunciated above.

Numerous requests for evidentiary hearings have been properly raised at State district
court and O.C.C.A.; are preserved for Federal Court. (P.C.O.R. 869-883) Such hearings are
now requested pursuant to 28 U.S.C. § 2254(e) (2) (A) (ii): “a factual predicate that could not
have been previously discovered through the exercise of due diligence.” Such hearings are
necessary for the Court to examine the claims presented in this habeas. Williams v. Taylor, 529
U.S. 362, 432 (2000); Insyxiengmay v. Morgan, 403 F.3d 657, 670 (9"" Cir. 2005); Townsend v.
Sain, 372 U.S. 293, 313 (1963); Teti v. Bender, 507 F.3d 50, 61-62 (1" Cir. 2007); Conway v.
Polk, 453 F.3d 567, 582 (4" Cir. 2006); Miller v. Champion, 161 F.3d 1249, 1253 (10" Cir.

1998). Townsend, supra, established six criteria for such request. Petitioner meets the standard.

STANDARDS OF REVIEW AS TO KASTIGAR, IMMUNITY, AND FIFTH
AMENDMENT VIOLATION

Petitioner’s case is governed by AEDPA, which provides, in pertinent part, that a federal
court can only grant relief on a habeas claim adjudicated on the merits in state court where that
adjudication resulted in a decision that was “contrary to”, or involved an “unreasonable
application of’ clearly established federal law, as determined by the Supreme Court of the
United States. 28 U.S.C. § 2254(d) (1). A state decision is “contrary to” established federal law
where it applies a rule that contradicts federal law or reaches a result that is different on
materially indistinguishable facts. Williams v. Taylor, 529 U.S. 362, 405-06 (2000). A decision
involves an “unreasonable application of’ federal law where the state court identifies the

governing principle of federal law, but unreasonably applies that principle to the facts of the
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prisoner’s case. /d., at 413. Title 28 U.S.C. § 2254(d) (2) provides for independent review when
an addressed decision is “based on an unreasonable determination of the facts in light of the
evidence presented in State court proceeding” or when such decision is contradicted by “clear
and convincing” evidence in the record. O.C.C.A.’s decision regarding Petitioner’s Title 18
U.S.C. § 6002 and Fifth Amendment Rights claims, ground one, two, three and five, each meet
that criteria. This petition requires independent review per AEDPA on two distinct standards of
review as to Fifth Amendment and Title 18 U.S.C. § 6002. Controlling legal principles:
Kastigar, Marchetti, Hubbell, Rogers, Hoffman, Brown v. Walker, supra, Ullmann v. United
States, 350 U.S. 422 (1956), Counselman v. Hitchcock, 142 U.S. 547 (1892), Bram v United
States, 168 U.S. 532 (1897), United States v. Burr, 25 Fed. Cas. Page 38, No. 14, 692e

(1806/07).

FIRST STANDARD OF REVIEW
Title 28 U.S.C. § 2254(d) (2) states: “resulted in a decision that was based on an

unreasonable determination of the facts in light of the evidence presented in the State court
proceeding.” Review de novo is required; thusly, requested. O.C.C.A. failed to determine the
correct set of facts as to Fifth Amendment, clause III violation. O.C.C.A. made factual findings
that were contradicted by “clear and convincing” evidence in the record. (O.R. 176, 180 & K2Tr-

17-23).

Judge Chapel who wrote the O.C.C.A. opinion had a major conflict with the Petitioner.
(P.C.O.R. 138-139 & 193) Judge Chapel should have recused himself in regard to appellate
attorney Gloyd McCoy as he did in other cases involving Mr. McCoy. (P.C.O.R. 193) Walberg
v. Israel, 766 F.2d 1071 (7" Cir. 1985). On appeal of Post-Conviction Relief, Petitioner made
Application for recusal of the O.C.C.A. Judges involved and was granted recusal of only one

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Judge. (See Appendix “O”).

Petitioner’s immunity contract defined his relationship with the Government. It contains a
“subsequent meetings” clause. Petitioner’s meeting with the DEA on July 8, 2003, provided
such immunity and the facts of such were raised repeatedly as established in the record.
(Immunity Contract, specifically “subsequent meetings” clause: O.R. 87, 92-93, 118-119, 176,
197-198, 341-342) Judge Chapel chose to remain oblivious to this immunity contract or its
affect on Petitioner’s case. In failing to acknowledge the “subsequent meetings” clause of the
immunity contract and the interview with the DEA on July 8, 2003, O.C.C.A. failed to reach the
merits of the “essential elements” of the underlying immunized Fifth Amendment violation.
AEDPA requires the Federal habeas Courts to defer to the state court “with respect to any claim
that was adjudicated on the merits,” the merits have never been reached, nor adjudicated;
review de novo required. “This court is required to independently review the record to assess
the reasonableness of a state court denial of relief which failed to address an essential element of

Petitioner’s claim.” Rompilla v. Beard, 545 U.S. 374 (2005).

SECOND STANDARD OF REVIEW

If one were to accept that the O.C.C.A.’s decisions in this case were on the merits, it
would necessarily follow that Title 18 U.S.C. § 6002, proposition two, would be reversed on the
ground that it “was contrary to... clearly established Federal law.” 28 U.S.C. § 2254(d) (1) No
deference to O.C.C.A. should be given as to Fifth Amendment, 18 U.S.C. § 6002, and Kastigar
immunity contract rulings. Title 18 U.S.C. § 6002 was clearly violated; O.C.C.A. ignored this

claim in the opinion. Review de novo is mandatory.

STANDARD OF REVIEW AS TO INEFFECTIVE ASSISTANCE OF APPELLATE

COUNSEL
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This petition for writ of Aabeas corpus meets the standards elucidated by the United
States Supreme Court in Harrington v. Richter, 131 S. Ct. 770 (2011), [must show that
“attorney’s representation amounted to incompetence under prevailing professional norms”; and
that there is no reasonable argument which would support counsel’s failure to act as alleged in
the petition.] Mr. McCoy served as attorney of record during Petitioner’s Direct Appeal process.
(S.Tr.-3, P.C.O.R. 112) The record is overwhelming as to Mr. McCoy’s incompetence, which
prejudiced Petitioner’s Kastigar claims and no “fair-minded” jurist would have committed the
“unreasonable” acts or “unreasonable” lack of acts. Mr. McCoy was disbarred for
incompetence under prevailing professional norms by the Tenth Circuit Court of Appeals.
(P.C.O.R. 955-968) This disbarment was for incompetence in a time-period concomitant with

Petitioner’s direct appeal and the reply brief. (P-C.O.R. 173-174, 912 &914-915).

Mr. McCoy’s incompetence is demonstrated by his abject failure in drafting Petitioner’s
reply brief to articulate the “subsequent meetings” clause of the immunity contract and by his
failure to competently show the fact that Petitioner met with DEA agents after the alleged
kidnapping and assault, but prior to Tulsa Police investigation and prior to Tulsa District
Attorney filing charges. He failed to articulate this in the reply while claiming he had included
these key facts. (Gloyd McCoy E-mails: P.C.O.R.-141-144,146,148, 149,150,152 160,162,164-

168,170-171,173-175).

Mr. McCoy was suspended by the Supreme Court of the State of Oklahoma: “Clear and
convincing evidence exists demonstrating that McCoy violated multiple rules of professional
conduct and disciplinary rules by which each member of the Bar Association is bound. We
conclude that the respondent’s professional misconduct warrants a suspension of his license to

practice law of two years and one day and imposition of cost.” (P.C.O.R. 943-944, certified copy
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of the Supreme Court of the State of Oklahoma Order) This suspension is for acts that occurred
in the same time-period as Petitioner’s Direct Appeal process. (P.C.O.R. 916-935, 953-990)
“{T]he appeal would have had, with reasonable probability, a different outcome if the attorney
adequately addressed the issue.’ United States v. Dovalina, 262 F.3d 472, 474-75 (5" Cir. 2001).

Hawkins v. Hannigan, 185 F.3d 1146, 1152 do" Cir. 1999).

There is no reasonable argument that would support counsel’s failure to counter in the
reply brief the correct set of facts. Mr. McCoy failed to properly articulate a ‘dead bang
winner”. Neil v. Gibson, 278 F.3d 1044, 1057 n.5 (10" Cir. 2001); Banks v. Reynolds, 54 F.3d
1508, 1514 (10™ Cir. 1995). Smith v. Workman, 550 F.3d 1258, 1265-66 (10™ Cir. 2008); Spears
v. Mullen, 343 F.3d 1215, 1252 (10" Cir. 2003); Revilla v. Gibson, 283 F.3d 1203, 1220 (10"
Cir. 2002); Sallahdin v. Gibson, 275 F.3d 1211, 1234 (10" Cir. 2002); Brecheen v. Reynolds, 41
F.3d 1343, 1363-64 (10" Cir. 1994); Osborn v. Shillinger, 861 F.2d 612, 623 (10™ Cir. 1988)

O.C.C.A. refused to grant Petitioner an evidentiary hearing as to ineffective assistance of

appellate counsel (P.C.O.R. 869-871).

O.C.C.A. and Tulsa County District Court blatantly ignored Fairchild v. Workman, 579
F.3d 1134 (10" Cir. 2009) (Found in Petitioner’s TRAVERSE filed before Tulsa District Court,
(P.C.O.R. 903-908)); Wilson v. Sirmons, 549 F.3d 1267 (10" Cir. 2008); “We have already
explained why this court has traditionally refused to regard a decision as ‘on the merits’ when it
fails to consider the substance of the claim. But even if we were to agree, arguendo, that the
OCCA’s decisions in these cases were on the merits, it would necessarily follow that each would
be reversed on the ground that it ‘was contrary to... clearly established Federal law.’ 28 U.S.C. §
2254(d) (1). To decide a legal claim without regard to the evidence is surely unreasonable. See

Williams v. Taylor, 529 U.S. 362, 416, 120 S. Ct. 1495, 146 L.Ed.2d 389 (2000) (O’Connor, J.,
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concurring) (‘The [state court’s] decision reveals an obvious failure to consider the totality of the
omitted mitigation evidence’ and therefore ‘involved an unreasonable application of... clearly
established Federal law, as determined by the Supreme Court of the United States.’ ” Wilson v.
Workman, 577 F.3d 1284, 1294 do" Cir. en banc 2009); and Wackerly v. Workman, 580 F.3d
1171 (10" Cir. 2009); Rompilla v. Beard, 545 U.S. 374 (2005), Wiggins v. Smith, 539 U.S. 510

(2003).

The Supreme Court of the State of Oklahoma wrote: “We acknowledge the attorney’s
evident medical issues, debilitating depression coupled within attention deficit disorder, and their
contribution to his actions. Nevertheless, in consideration of the facts and upon de novo review,
we determine that the respondent’s conduct resulting in incurable harm to the rights of those
he represented, retaining unearned fees, continued representation of clients while alleging his
incapacity to do soe, causing embarrassment to the legal profession and to this Court”.
(Emphasis added. Page 2, of Order. P.C.O.R. 913) “[McCoy]... suffers from mental and
physical conditions rendering him incapable of the practice of law...” in Oklahoma Bar Journal,
OBJ, vol. 81, No.25, page 2086. (P.C.O.R. 188) This incompetence rises to the rarely occurring
level of United States v. Cronic, 466 U.S. 648, 104 S.Ct. (1984). O.C.C.A. failed to identify this
controlling case in their order; hence, an unreasonable determination and application of United
States Supreme Court law and “was contrary to... clearly established Federal law.” 28 U.S.C. §
2254(d) (1). No deference to O.C.C.A. should be given as to ineffective assistance of appellate

counsel rulings. (See Appendix ‘‘O”).

Petitioner’s ineffectiveness claim certainly meets the prongs of Strickland v. Washington,
466 U.S. 668 (1984). “The attorney acknowledged multiple instances of misconduct involving:

dishonesty, fraud, deceit, or misrepresentation; incompetence including accepting cases while

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under a disability; lack of diligence; failure to communicate; mishandling of funds; and the filing
of untimely responses to grievance inquires. In addition, the attorney has been disbarred by the
Tenth Circuit.” (P.C.O.R. 912-913) Petitioner filed motions for ineffective assistance of
appellate counsel evidentiary hearings with the Post-Conviction Application (P.C.O.R. 869-874)
and motions for ineffective assistance of appellate counsel evidentiary hearings, pursuant to
O.C.C.A. Rule 3.11, before O.C.C.A. All were denied. Smith v. Robbins, 528 U.S. 259 (2000),
Wilson v. Workman, 577 F.3d 1284, 1294 ( 10" Cir. en banc 2009), controls; hence,

incompetence is dehors’ the records, ergo review de novo is mandated.

Without doubt, the spirit of the Court in Richter, Strickland, Cronic,; supra, is reached, as
is the letter of the law. These three controlling legal principles are not a bar as to the instant
case. Rather, they support the above claim, as all prongs enunciated in the standard of review

triumvirate are met.

UNCONSTITUTIONAL ASPECTS OF AEDPA
AS TO REVIEW STANDARD AS TO IMMUNITY
PROPOSITION ONE, TWO, THREE AND FIVE

In assessing these Federal immunity issues, this habeas Court is not bound to give any
deference to the ruling of O.C.C.A. or the Tulsa District County Court. Reviewing any Federal
immunity claim under any gatekeeper provisions of AEDPA is a Procedural Due Process

violation, this is sine qua non’: propositions one, two, three and five are to be reviewed de novo.

“[D]eclining to ‘place great weight’ on the lower court’s factual conclusiveness.” See
United States v. North, 910 F.2d 843, 867 (D.C. Cir. 1990); United States v. Holbrook, 368 F.3d

415, 420 (4" Cir. 2004); United States v. Poindexter, 951 F.2d 369, 374-75 (D.C. Cir. 1991)

 

? Old French now used in Law. Outside of; not within the scope of. SHORTER OXFORD ENGLISH
DICTIONARY ON HISTORICAL PRINCIPLES 633 (6" ed. 2007).

* Latin: An indispensable person or thing; esp. an essential condition or element. SHORTER OXFORD ENGLISH
DICTIONARY ON HISTORICAL PRINCIPLES 2842 (6" ed. 2007).

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(“Whatever the exact contours of the district court’s legal standard... its view was clearly too
narrow to permit us to defer to its ultimate findings on this issue”). This case was a Federal case
that would have been in the Federal Court had it not been for the attempt to sanitize the true
origins of the case and launder the illegally obtained evidence through the interposition of an
intermediary; the Government passed the case on to the State, intending that sovereign to
prosecute. (P.C.O.R. page 414, 2) AEDPA should not apply, no deference should be given to
O.C.C.A. in analysis of the Kastigar, Title 18 United States Code § 6001 et sequentia, or Federal
immunity claims, as this is a Federal case imposturing as a state case in a state court; hence,

review de novo is required. (P.C.O.R. 390-618).

In other words, a state prisoner (who is truly a federal prisoner in the instant case) has
“rights of collateral attack” inherent in Procedural Due Process. United States v. Hayman, 342
U.S. 205, 219 (1952). A Judge ordained under United States Constitution Article III (“Article
II’) must review de novo this Federal Executive crime against Petitioner. Congress violates
Article I, § 9, “The Privilege of the Writ of Habeas Corpus shall not be suspended, unless when
in Cases of Rebellion or Invasion the public Safety may require it” via AEDPA’s gatekeeper and
latchkey provisions. “The fundamental requirement of due process is the opportunity to be heard
‘at a meaningful time and in a meaningful manner.’ Mathews v. Eldridge, 424 U.S. 319, 333
(1976) (quoting Joint Anti-Fascist Comm. v. McGrath, 341 U.S. 123, 168 (1951)). In reality,
Petitioner seeks a Title 28 U.S.C. § 224], a true writ of habeas corpus, denied Petitioner for
years. “Likewise, we have made clear that, unless Congress acts to suspend it, the Great Writ of
habeas corpus allows the Judicial Branch to play a necessary check on the Executive’s discretion
in the realm of detentions.” See I.N.S. v. St. Cyr. 533 U.S. 289, at 301 (2001).

The Executive branch ordered compelled testimony from Petitioner then used a corrupt

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Justice system acting as a separate sovereign in name only, to charge Petitioner, then the same
bad actors of the Executive Branch conflicted off lawyers in the process of Petitioner trying to
seek review by a higher state court and then a true Federal habeas to Federal Court, and then to
intensify wrong doing, the lawyer brought in informed Petitioner that he must go through jury
trial first before Federal review. Petitioner demands de novo review by an Article HI Judge.
With the help of the Article I Courts, the Legislative and Executive Branches have a tessellated
unconstitutional scheme that creates a diabolical labyrinth in which to trap the Petitioner so as to
deny him habeas review as to his unlawful and unconstitutional detention. “At its historical
core, the Writ of Habeas Corpus has served as a means of reviewing the legality of Executive
detention, and it is in the context that its protections have been strongest.” Hamdi v. Rumsfeld,
542 U.S. 537, part D (2004) (Justice O’Connor, Judgment of the Court). Government is wearing
the ageless badge of tyranny in the use of compelled testimony to extract revenge on Petitioner.
RULES OF CONSTRUCTION AS TO IMMUNITY AGREEMENT AND

CONTRA PROFERENTEM RULES OF CONSTRUCTION AS TO
IMMUNITY AGREEMENT

In assessing the Petitioner’s immunity contract, Santobello v. New York, 404 U.S. 257
(1971) (O.R. 94)* controls, with additional guidelines set forth in United States v.
Transfiguracion, 442 F.2d 1222 (9" Cir. 2006). There, the Ninth Circuit Court of Appeals said:

One tenet of contract law we have steadfastly applied to [government/defendant]
agreements, of particular importance to this case, is that of contra proferentem,
the principle that ambiguities in contracts “are to be construed unfavorably to the
drafter.” BLACK’S LAW DICTIONARY 328 (7" ed. 1999). In the contest of
[government/defendant] agreements, the government is usually the drafter and
must ordinarily bear “the responsibility for any lack of clarity.” Franco-Lopez,
312 F.3d at 989 (internal quotations marks omitted). Ambiguities are therefore
construed “in favor of the defendant.” Jd. (internal quotation marks omitted); See
also United States v. DelaFuente, 8 F.3d 1333 co" Cir. 1993) (“Construing

 

* Direct Appeal Brief, P. 25.

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ambiguities in favor of the defendant makes sense in light of the parties’
respective bargaining power and experience.”) As a defendant’s liberty is at
stake, the government is directly held to the literal terms of the
[government/defendant] agreement it made. United States v. Packwood, 848 F.2d
1009, 1012 (9" Cir. 1988), so that “{t]he government gets what it bargains for but
nothing more.” United States v. Pruitt, 32 F.3d 431, 433 (g" Cir. 1994)

442 F.3d at 1228.

Petitioner was ordered’ on October 19, 2000, to “provide information, cooperation,
testimony, such documents as you may control, and evidence concerning all facts within your
knowledge regarding the subject matter involved. -In exchange for your agreement to cooperate
with the undersigned and/or other Federal agents, the United States Department of Justice,
Narcotic and Dangerous Drug Section agrees that no statement or other information (including
documents) given by you during this and subsequent meetings will be used directly or
indirectly against you in any criminal case, as those terms are understood in 18 U.S.C. § 6002,
subject to the provisions of this letter.” (Emphasis added.) This Order by the Executive Branch
was signed by Deputy Attorney General John Roth, pursuant to Title 18 U.S.C. § 6001, er
sequentia. Specifically, § 6002 states:

...the witness may not refuse to comply with the order on the basis of his privilege

against self-incrimination; but no testimony or other information compelled under

the order (or any information directly or indirectly derived from such testimony or

other information may be used against the witness in any criminal case, except a

prosecution for perjury,° giving a false statement, or otherwise failing to comply
with the order.’

The logic is straight forward that the immunity contract combined with wording of 18
U.S.C. § 6002 yields a rolling immunity grant.®

Cooperation agreements, “like plea agreements, function as an “essential part’ of
the criminal justice process and are ‘highly desirable’ as means to assist law

 

* See O.R. 92-93.

° Petitioner has never been charged with perjury, nor is any part of this instant case perjury.
’ Petitioner kept his part of the immunity contract.
* See P.C.O.R. 408-411.

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enforcement investigative efforts.” United States v. Pinter, 971 F.2d 554, 557
(10" Cir. 1992).

The immunity contract is a cooperation agreement and is governed by pertaining case
law. Pinter, enunciates the following:
“...[P]romises in cooperation agreements, ‘whether directly or indirectly made,
must be fulfilled to their fullest extent in furtherance of fair and proper
administration of justice. United States v. Avery, 621 F.2d 214, 215 (5™ Cir.
1980). Moreover, construction of such agreements ‘requires determining what the
defendant reasonably understood’ when the agreement was executed. See United
States v. Shorteeth, 887 F.2d 253, 256 (10" Cir. 1989); United States v.

Greenwood, 812 F.2d 632, 635 (10" Cir. 1987); Pinter, 971 F.2d at 557 (10" Cir.
1992),

Petitioner testified under a Judicial “Use” Immunity order'! in Topeka Federal Court in
winter and spring of 2003. Petitioner testified about prosecutorial misconduct.’* Petitioner was
threatened'* while on the stand and while in the courtroom,'* and further threatened outside the

courtroom.

Petitioner was advised by attorneys to leave the United States as soon as possible. A
Massive investigation started involving U.S. Attorneys, Drug Enforcement Administration,

Federal Bureau of Investigation (“FBI”), and possibly Department of Interior (“DOI”).

Petitioner discovered that he was being investigated, contacted DEA and confronted
agents about illegal aspects of the investigation. Agents denied any investigation. Tulsa attorney
Mr. H. I. Aston, representing Petitioner, made an appointment for both Aston and Skinner to
speak with DEA in person. DEA cancelled the July 4, 2003 appointment and rescheduled the

appointment to take place on July 8, 2003. DEA-6 forms show that, on July 4, 2003, these same

 

° Found in O.R. 193 and found in Direct Appeal Brief filed before O.C.C.A., page 24.
'° Found in O.R. 194 and found in Direct Appeal Brief filed before O.C.C.A., page 25.
'' See O.R. 97-99,

? See O.R. 236-237.
'? See K2Tr.- page 16, lines22-25, page 17, lines 1-11.
'* See K2Tr.- page 16, lines22-25, page 17, lines 1-11.

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agents were investigating Petitioner’s Amerisuite Hotel stay and Petitioner’s emergency room
visits. The alleged event that Petitioner was convicted of occurred over this July 4h holiday
weekend. On July 8, 2003, Petitioner, with Mr. H. 1. Aston, went into the Tulsa DEA offices to
explain the illegal nature of the Government’s investigation. DEA agents turned this into an
interview. After the interview with Petitioner, DEA agents and AUSA Litchfield met with Betty
Stetler later that same day.'> An intense DEA investigation ensued, resulting in the discovery of
an alleged kidnapping and assault conspiracy, with Brandon Green being the alleged victim. The
DEA brought in the FBI. Then the DEA turned over information to Tulsa Police who built a
case a month after alleged event. Petitioner was not charged until over two months after the

alleged crimes involving Green were said to have occurred.

Compelling a suspect to give testimony is not the only source of a prosecutorial
obligation to refrain from using information; such an obligation also may arise as
part of an agreement under which the suspect provides information in exchange
for a promise from the prosecutor not to use it against him (use immunity) or, not
to prosecute at all (transactional immunity)..Agreements of this nature are
enforced not only because of the self-incrimination clause requires prosecutors to
scrupulously adhere to commitments made to suspects in which they induce the
suspects to surrender their constitutional rights in exchange for the suspects
giving evidence that the government needs against others which simultaneously
implicates themselves. United States v. Eliason, 3 F.3d 1149, 1152-1153 7" Cir.
1993).

The record is clear as to the above, as shown in great detail in habeas application. The
State’s case is in clear violation of Kastigar v. United States, 406 U.S. 441 at 460 (1972).'’ The

Kastigar policy catalog rules and tools states:

This total prohibition on use provides a comprehensive safeguard barring the
use of compelled testimony as an “investigatory lead,” and also barring the use
of any evidence obtained by focusing the investigation on a witness as a result
of his compelled disclosures. (Emphasis added.)

 

'® See O.R. 225-230.
'* Found in O.R. 194 and found in Direct Appeal Brief filed before O.C.C.A., page 25.
"” See OR. 87.

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The DEA used “link[s] in the chain of evidence” to build a case against Petitioner in
violation of United States v. Hubbell, 530 U.S. 27 (2000) (quoting Hoffman v. United States, 341
U.S. 479 (1951).'8 Petitioner need not meet this standard. However, the record clearly shows

links in the chain of evidence. The heavy burden was on the prosecution as Kastigar states:

This burden of proof, which we reaffirm as appropriate, is not limited to a
negation of taint; rather, it imposes on the prosecution the affirmative duty to
prove that the evidence it proposes to use is derived from a legitimate source
wholly independent of the compelled testimony.

Kastigar, 406 U.S. at 461.

No attempt by the prosecution was made to trace back the information to the source, as
required by Kastigar. No attempt was undertaken by the prosecution to analyze which piece of
information came from which specific compelled statement. No effort was made to trace any
information back to any source compelled or otherwise.

The Government was barred under the logic of Kastigar and Marchetti v. United States,
390 U.S. 39 (1968) from filing charges. The alleged crime was ongoing; hence, Marchetti would

control:

Yet, if factual situations in which the privilege may be claimed were inflexibility
defined by a chronological formula, the policies which the constitutional privilege
is intended to serve could easily be evaded. Moreover, although prospective acts
will doubtless ordinarily involve only speculative and insubstantial risks in
incrimination, this will scarcely prove true. As we shall show, it is not true here.
We conclude that it is not mere time to which the law must look, but the
substantiality of the risk of incrimination. (/d. 705-706; 390, at 54)

The Supreme Court looks to “links in the chain of evidence” (“...he might reasonably
suppose would be available to prosecuting authorities, and which would surely prove a
significant ‘link in a chain’ of evidence tending to establish his guilt.”)"”, and to the test which

establishes that, ‘““The central standard for the privilege’s application has been whether the

 

8 See O.R. 312.
'° Marchetti, 390, at 49.

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claimant is confronted by substantial and ‘real,’ and not merely trifling or imaginary, hands of
incrimination. Rogers v. United States, 340 U.S. 367, 374 (1951); Brown v. Walker, 161 U.S.
591, 600 (1896).””° As Rogers, Hoffman, and Marchetti show us, a fear of exposing “links in the

chain of evidence” is sufficient to meet the standard.

The privilege afforded not only extends to answers that would in themselves
support a conviction under a federal statute but likewise embrace those which
would furnish a link in the chain of evidence needed to prosecute the claimant for
a federal crime. United States v. Hubbell, 530 U.S. 27 (2000)

The State is barred from the illegal evidence because the alleged crime ended when
Brandon Green left the state; however, Marchetti bars the use of the evidence as a continuing
crime. The only case that Petitioner has found that comes close to the same chronological
analysis is United States v. Brown, 763 F. Supp. 1518 (D. Ariz. 1991). The courts logic in that
case assists in logic in this case “if” the Government was to have tried to prosecute. The State is

also bound by the same logic.

The nonsense that O.C.C.A. Judge Chapel wrote about an “independent source” being the
alleged new crime has no place in any legal context. The application of Marchetti to use of
earlier compelled testimony under an order of Judicial “Use” Immunity” was farcical at best. In
context of the Petitioner’s claim, use of Marchetti was obvious as to July 8, 2003 DEA interview
and “subsequent meetings” clause of contract. Please read Petitioner’s petition for writ of

certiorari for guidance as to the absurd opinion written by Judge Chapel. (P.C.O.R. 390-618).

It was not the burden of the Petitioner to trace out lines of investigation and lines of
evidence, nor was it his duty to identify which compelled testimony resulted in which piece of

information used to convict Petitioner in trial. Petitioner showed that the States case was not

 

0 Marchetti, 390, at 53.
*! See O.R. 97-99.

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their own, nor was it an independent investigation. Once that was shown the State had the duty
to show where the DEA and the FBI and the DOI came up with the witnesses, evidence, and the
information leading to such. The information given to the Tulsa Police, by the DEA and DOI,
was never analyzed as to how such was obtained. The witnesses that were turned over to the
State and how the Government obtained such has never been explored by the State. The State
made no such attempt to shoulder their burden required by Kastigar. One can understand the
reason the State avoided this rigorous endeavor, as any effort only strengthened Petitioner’s
claim of an immunity violation. Immunity is a coerced confession, and § 6002 is the statutory
proscription analogous to the Fifth Amendment requirement in cases of coerced confessions.
(Adams v. Maryland, 347 U.S. 179, 181 (1954); Bram v. United States, 168 U.S. 532 (1897). A
coerced confession, as revealing of leads as testimony given in exchange for immunity, As Mr.
Justice White, concurring in Murphy”, pointed out: “A coerced confession is as revealing of
leads as testimony given in exchange for immunity and indeed is excluded in part because it is
compelled incrimination in violation of the privilege.” Malloy v. Hogan, 378 U.S. 1, 7-8 (1964);
Spano v. New York, 360 U.S. 315 (1959); Bram v. United States, 168 U.S. 532 (1897) is
inadmissible in a criminal trial, but it does not bar prosecution. Jackson v. Denno, 378 U.S. 38
(1964). Rogers v. United States, 340 U.S. 367 (1951) “Witness to ‘real danger’ if further
combinations.” Mason v. United States, 244 U.S. 362 (1917), “These provisions made future
prosecution far more than ‘a mere imaginary possibility.’” Blau v. United States, 340 U.S. 159
(1950), “Answers to the question asked by the grand jury would have furnished a link in the
chain of evidence need in prosecution of petitioners...” /d., at 160. Review de novo is required,

with the writ of habeas corpus to be issued.

 

°? Murphy v. Waterfront Commission, 378 U.S. 55 (4964)

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ADDITIONAL ARGUMENTS SUPPORTING INEFFECTIVE
ASSISTANCE OF APPELLANT COUNSEL

Petitioner tried to terminate Mr. McCoy many times, as evinced by the following:

e “J have since been contacted by Mr. Gloyd McCoy, the attorney
handling the appeal, and he informed me that he had been fired, by Mr.
Skinner, but has yet filed an Application to Withdraw.” SWORN
AFFIDAVIT of Mary M. Hawthorne, Official Court Reporter, Dated
February 14, 2008. (O.R. 688)

e “This correspondence is to be considered official notice that I no
longer require your services, due to your lack of performance, failure
to keep an open communication with myself and my representatives
and your failure to provide me with the Bates-stamped pages, as you
have continually promised over the last twenty-two months. I find it
totally reprehensible that you failed to properly file the Notice of
Intent to Appeal and then lie to me about that deficiency for eleven
(11) months. Even after resolving that situation, the lies and
procrastination have continued.” Letter from Petitioner to Mr. McCoy,
filed in Federal Court District of Nevada, Ninth Circuit, Oklahoma Bar
Association, O.C.C.A., U.S. Supreme Court. Notarized on May 12,
2008. (P.C.O.R. 121)

e “Mr. McCoy has been terminated for willful neglect of duty,
procrastination and various continual lies. See Exhibit A. Mr.
McCoy’s actions can be considered nothing less than ineffective
assistance of counsel and Appellant Skinner does not wish to allow
Mr. McCoy to further jeopardize his appellate rights. Mr. Skinner has
attempted to retain first-class counsel...” Motion filed by Petitioner.
(P.C.O.R. 123) O.C.C.A Court Clerk Claims this filing has been lost.
Originally filed in Federal Court as an exhibit in 2008.

e “Greetings. I have a great deal of difficulty with my appellate counsel,
Gloyd McCoy. I have been forced to proceed on my own behalf and I
have questions related to the status of my appeal time. Has the clock
begun to run on the deadline to have my appeal filed? 1 have not
received the totality of my transcripts, so I do not believe my time has
started, however, I would like a definitive answer from your office.”
Letter from Petitioner to Court Clerk of O.C.C.A., dated May 14,
2008. (P.C.O.R. 125) Originally filed in Federal Court as an
exhibit in 2008.

e OKLAHOMA BAR ASSOCIATION RESPONSE TO
COMPLAINT, Dated Mar 16, 2008, (P.C.O.R. 127) Originally filed
in Federal Court as an exhibit in 2008.

e Letter to Court Clerk of O.C.C.A, from Petitioner to O.C.C.A., dated
May 20, 2008. (P.C.O.R. 129) Originally filed in Federal Court as

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an exhibit in 2008.

e Proof Mr. M. I. Aston came to prison housing Petitioner on June 3,
2008. (P.C.O. R. 131) Originally filed in Federal Court as an
exhibit in 2008.

e Proof Petitioner hired Mr. M. I. Aston for Direct Appeal. Dated June
3, 2008. (P.C.O.R. 133) Originally filed in Federal Court as an
exhibit in 2008.

e Order of O.C.C.A. Denying Petitioner Termination of Mr. McCoy,
filed June 9, 2008. (P.C.O.R. 135) Originally filed in Federal Court
as an exhibit in 2008.

e Statement of Petitioner concerning above. (P.C.O.R. 138-139)
Originally filed in Federal Court as an exhibit in 2008.

Petitioner tried to control his Direct Appeal, dealing with an incompetent and mentally ill

attorney, scilicet:

e “Todd is almost finished with proposition 1, which is approx. 17 pages
long.
He is not working on propositions 2 through 8, that is your
responsibility.
You never added the proposition of the lack of discovery of the FBI
reports as you said you would. Do this ASAP.” E-mail to Mr. McCoy
dated December 1, 2008. (P.C.O.R. 162)

e “You never added that the government induced ineffective assistance
counsel, and ineffective assistance of councel [sic].” E-mail to Mr.
McCoy, dated December 1, 2008. (P.C.O.R. 162)

e “You never added the claim of Hauk’s sex crimes against minors.”
Dated December 1, 2008. (P.C.O.R. 162)

e “You never changed the name from Krystal Cole to Christie Roberts in
regards to the Kastigar Hearing.” December 1, 2008. (P.C.O.R. 162)

e “Did you receive the discharge claim from New Jersey?” E-mail to
Mr. McCoy dated August 4, 2008. (P.C.O.R. 166)

e “No one has heard from you. Please call me at 1-800-331-3263
ASAP. You have missed both the dates you promised to see Todd.
You have not called him, and he needs to talk to you before you come
to visithim. The extension time is almost up. Todd is working on the
Kastigar proposition response. He is not doing anything on the other
propositions because he doesn’t have any resources to use. Your
payment was sent to you over a week ago, which was to enable you to
go visit the facility.” E-mail to Mr. McCoy dated November 18, 2008.
(P.C.O.R 171)

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e¢ “Todd called me today and said it is vital that you call him at DCC-
today if possible, but tomorrow at the latest- to discuss what he says
are numerous typos and missing propositions in the draft of the appeal
he received.” E-mail from Bill Wynn to Mr. McCoy, dated August 20,
2008. (P.C.O.R. 146)

The following email from Gloyd McCoy to Petitioner clearly shows McCoy’s
incompetence as he makes assertions that have no basis in legal fact, court rules or procedures.
Additionally, it demonstrates that McCoy’s incompetence would have been known to the
O.C.C.A., suggesting also that the O.C.C.A. may have intentionally “invited error” in

misadvising McCoy:

e “Todd, I talked with my source at the CCA and was told that a
motion for extra pages would be denied. I was also told that we
could bootstrap what was left out in a motion for oral argument
which can be filed in the next two weeks. I edited your 24 pages
and got the gist of it in. We will make it up. Review what you
think is missing and we will talk later about motion for oral
argument. Judge Charles Johnson becomes presiding judge in Jan.
and we can make motions for correction and whatever we need. If I
would have filed a brief over 10 pages it would have slowed things
done and we would have had to do ten pages later. This way case is
at issue. You have raised everything for later use. The concept is
all that is need be raised to preserve the issue.” E-mail from Mr.
McCoy to Dianna Burns to be sent to Petitioner, dated December 9,
2008. (P.C.O.R. 173) (Emphasis added.)

Proof of conflict between Riggs/Abney and McCoy and D.A. Harris and O.C.C.A. Judge

Chapel, videlicet:

e “Chapel founded one of the largest firms in Tulsa-Chapel, Riggs,
Abney, Neal, he has served on several Oklahoma and Tulsa County
Bar committees ... and as trustee for the Oklahoma Bar Foundation.”

ABC-AGENCIES, BOARDS, AND COMMISSIONS, CHAPTER

JUDICIAL BRANCH, PAGE 49, PARAGRAPH ON JUDGE CHAPEL.

(P.C.O.R. 193).

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Gloyd McCoy’s state of mental health from July through December 2008 (Period of
Petitioner’s Direct Appeal Brief and Reply Brief):

...In August 2009 until present [March 4, 2010]. Over time, his diagnosis
changed from symptoms of depression to Major Depressive Disorder,
and his ADD was exacerbated. To an uninformed observer, he would
appear functional, but in reality Mr. McCoy could not manage long. In
other words, his experience and his knowledge of his area of the law
allowed him to manage but not at his typical level. (P.C.O.R. 974-975)

In September 2008 (after Riggs Abney), Mr. McCoy’s wife Penny was
diagnosed with sepsis and a blood infection in her head. That exacerbated
her diabetes. She was unconscious for two days and was in the hospital
for ten days ~ all with not insurance (which expired two months earlier).
Until February 2009, Mr. McCoy was the primary care-giver for his wife
and children. The medical bills were staggering for this couple, who had
no regular income and three children. (P.C.O.R. 977) (Medical Report of
Dr. Vicki Wyatt, filed with Oklahoma Supreme Court) (Certified
Copy filed with Tulsa County District Court)

CONCLUSION
Petitioner requests this Court to grant evidentiary hearings motions. Petitioner prays that
the Court issue the writ of habeas corpus so that justice will be served. Petitioner prays that this
petition will issue as soon as possible.
So prayed.

Respectfully and truly submitted,

Ybor ht Sir, °l29h

Gordon Todd Skinner, ordo lux
Inmate No. 556865

Joseph Harp Correctional Center
P. O. Box 548

Lexington, Oklahoma 73051

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Appendix

APPENDIX
(See Petitioner’s Lodgment “A”)
Description
Defendant’s motion for a Kastigar hearing to exclude tainted evidence and
disqualify the prosecutor, to compel full disclosure of all discovery and to dismiss

the complaint

Gordon Todd Skinner’s supplemental Kastigar motion and motion to dismiss the
charges currently pending against him.

Gordon Todd Skinner’s second supplemental Kastigar motion and motion to
dismiss the charges currently pending against him.

Defendant’s re-urged motion to dismiss for Kastigar violations, or in the
alternative, request for an evidentiary hearing to determine witness and/of

prosecutor taint

Transcript of sentencing had on the 6" day of July, 2006 before the Honorable
Gordon D. McAllister, District Judge

Appellant brief of Gordon Todd Skinner

Brief of Appellee from Tulsa County District Court Case number CF-2003-4213
Reply brief of Appellant

Opinion of O.C.C.A. as to Direct Appeal, filed June 11, 2009

Cover Page of the Petition for a Writ of Certiorari , United States Supreme Court,
stamped September 2, 2009

On Amended Petition for a Writ of Certiorari, United States Supreme Court,
October 5" 2009

U.S. Supreme Court docket sheet re: petition Writ
Application for post-conviction relief
Petition in Error, Brief, and accompanying Motions

Order Affirming Denial of Application for Post-Conviction Relief
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c

x < <

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AA.

BB.

CC.

DD.

EE.

FF.

GG.

HH.

Transcript of hearing June 12'", 2006 before the Honorable Gordon D. Cordon
McAllister J. R.

Transcript of hearing had on the of 25" day of May, 2005 before the Honorable
Gordon McAllister, Judge Tulsa County, Oklahoma

Transcript of Kastigar hearing had on the days 8'" and 9" of August, 2005 before
the Honorable Gordon McAllister

Statement of William Hauck (O.R. 100-104)

Order setting motion for hearing, Special Appearance by the United States of
America and Motion to Quash Subpoenas Directed to Doug Kidwell

United States’ Notice of Errata

Affidavit to U.S. Attorney

Motion and affidavit for continuance

Motion to Waive Right to a Speedy Trial

Response to motion

Statement of William Hauck

Kevin Adams’ Motion to Withdraw

Affidavit of Krystle Ann Cole

Numerical Ordered DEA-6 Forms- Follows Chronology of DEA Investigation
Original Record

Post-Conviction Relief Original Record

1.A.D.A. Motions filed in Tulsa County District Court
E-mails of AUSA Allen Litchfield

Sworn Affidavits of Gordon Todd Skinner, AUSA Greg Hough, Karl Nichols,
Roger Hanzlik, and Ralph Sorrell

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CERTIFICATE OF SERVICE VIA U.S. MAIL

I hereby certify that, on the 1st day of July, 2011, a true and correct copy of the above
and foregoing:

“PETITIONER’S AMENDED OPENING BRIEF (PURSUANT TO Fed.R.Civ.P. 15(A))

IN SUPPORT OF PETITION UNDER 28 U.S.C. §§ 2241, 2254
FOR WRIT OF HABEAS CORPUS”

was mailed, postage paid thereon to:

Sandra D. Rinehart, OBA #11873 & Ashley L. Little, OBA #22210
Assistant Attorneys General

313 NE 21s Street

Oklahoma City, OK 73105

AND

Mike Addison, Warden, Respondent,
Joseph Harp Correctional Center, P. O. Box 548 Lexington, Oklahoma 73051

W.R. Wynn on behalf of:

Gordon Todd Skinner, #556495
Joseph Harp Correctional Center
P. O. Box 548

Lexington, Oklahoma 73051
